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| Law Enforcement Standard Operating Procedure 4.04, Tasers

Bifox! Department of Police
Law Enforcement
Special Operating Procedure

Subject; Tasers SOP Number: 4.04

issue Date: 01 Oct 2070 Revision Date:

Approval Autharity
Title and Signature: Director John B. Miller

POLICY: It is the policy of the Biloxi Police Department to train and certify sworn
officers in the use of electronic weapons. Appropriate guidelines on the deployment
and discharge of such weapons shail also be provided.

DEFINITIONS:

Anti-Felon Identification System (AFIdS): Confetti type material found inside a Taser
cartridge that identifies the cartridge serial number.

Authorized weapon: A department approved and sanctioned weapon. No weapon is
authorized for carry or use by an officer unless the agency approves it and the officer
has demonstrated proficiency with the weapon type in accordance with agency
guidelines.

Certification with weapon: Officer has dernonstrated proficiency with a particular
weapon, and been tested in its safe care and use. The officer is thereby authorized to
carry and use this weapon in the performance of his/her official duties regardless of
whether the officer is on-duty or off-duty. Officers may nat carry authorized weapons
without having been certified in its use.

Deadly force: An action, with or without the use of a weapon, intended to cause death
or serious bodily injury; or, the use of any object in a manner intended to cause death

or serious bodily injury.
Drive Stun: A Taser is discharged while in direct contact with a suspect.

Electronic weapon: Weapons using short bursts of electrical energy to temporarily
incapacitate a person without the intent of causing death or serious bodily injury.

Excited Delirium (aka: In-Gustody Death Syndrome): A state of extreme mental and
physiological excitement, characterized by extreme agitation, hyperthermia, hostiliy,
exceptional strength and endurance without apparent fatigue. °

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EXHIBIT

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Exigent circumstances: Conditions that are of such urgency and seriousness as to
justify a warrantless entry, search, or seizure by police when a warrant would ordinarily
be required.

Firearm: Any device designated, made, or adapted to expel a projectile through a
barrel by using energy generated by rapidly expanding gases, or any device readily
convertible to that use; including all handguns, rifles, and shotguns.

Force, non-deadly force, or fess-lethal force: Actions not calculated under the
circumstances to cause death or serlaus bodily injury.

Reasonable Belief or Perception: When a prudent man with the officer's training,
expertise, knowledge, and experience would arrive at the same conclusion, The
decision to use force must be based on reasonableness and necessity, not on
emotions. Force should be used only when it is reasonable to believe that it is
necessary.

Taser Deployment: A Taser is drawn and the laser is pointed at a suspect as a means
of gaining compliance.

Taser Discharge: A Taser is drawn and the probes are discharged at a suspect as a
means of gaining compliance or at an animal as a means of self defense. The Drive
Stun technique shall also be considered a discharge for reporting purposes.

Three Point Technique: Short range discharge of Taser probes and a concurrent
Drive Stun that completes a three point connection on the suspect's body.

PROCEDURES:
General Taser Information

in accordance with Department Policy 5.1, Use of Force & Deadly Force, the Taser is
considered a Level Three use of force option. A Level Three option is defined as
follows: The suspect is perceived by the officer to be actively resistant. The appropriate
response is compliance techniques. This is the threshold for any reasonable officer to
consider this suspect to be a potential threat to him, other officers or other citizens.
Compliance techniques may inciude aff reasonable means to cause the suspect fo
comply aS soon as reasonably possible. These techniques may include use of
restraints, forced movement, forcing a suspect's limbs behind his back, forcing a
suspect down on the floor or against a wall, deploying canine, electronic weapons or
using other forms of rough physical force. Officers should not relax care until the
suspect is fully secured once they are perceived as actively resistant.

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Training

The Training Officer shall be responsible for establishing a training curriculum for Taser
certification and refresher training. Alt officers must complete a certification course prior
to carrying the Taser device and attend annual re-certification. A strict "No Firearms in
the Classroom” stance shall be maintained during all Taser training classes. There
Shall be no exceptions to this policy requirement.

Instructors shoufd ensure the following safety guidelines are followed when subjecting
officers to certification exposure:

>» Live Cartridge Discharge

o Always use two spotters

o Spotters must hold the officer under the armpits to avoid twisting the
shoulders

o Officers should be carefully lowered fo the floor

o Officers who are lying on the ground should also have spotters ta prevent
flailing

o Ensure officers are wearing eye protection and looking away from the
weapon

o Always deploy probes to the back or legs

o Aim weapon slightly fo one side or the other of the torso to prevent lower
probe from passing between legs if slightly low

o Be sure the areas around and beyond the officer is clear of any
bystanders or equipment though could be damaged by a probe strike

o Probe placement should simulate realistic deployments

» Wire/Clip Attachment

o Always use two spotters

o Spotters must hold the officer under the armpits to avoid twisting the
shoulders

o Officers should be carefully lowered to the floor

o Officers who are lying on the ground should also have spotters to prevent
them from flailing about.

o Consider a fow muscle mass (oblique) hit and show that the officer may
fight through it.

Pre-Deployment Considerations

Officers use the Taser to gain compliance and assist in making an arrest; however,
different techniques are better suited for certain situations. For instance, a Drive Stun
Technique may best be employed when a suspect refuses to comply with instructions to
put their hands behind théir’back (é.g., holding their harids under their chest or holding
onto a fixed object). A standard Taser discharge may best be employed by officers not

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-in direct contact with suspects who are not complying (e.g., won't put an object down,

show their hands, fleeing), And finally, officers should consider using a Three Point
Technique when actively engaging a suspect in close quarters, This technique requires
probe deployment approximately one to two inches from the suspect's body and a
simultaneously Drive Stun (with the cartridge still in the Taser} to another area of the
suspect's bady.

Avold Weapons Confusion: Handguns have been confused with Taser devices. Learn
about the differences in physical feel and holstering characteristics between the Taser
device and your handgun. This will allow you to confirm device identity under stressful
situations. Therefore, the Taser will only be carried on the officer's off, or non-primary
shooting, side, in the cross or off-hand draw mount. Under no circumstances wilt
Tasers be carried on the officer’s weapon side.

Plan Deployment Backup: No weapons system, tool or technique is effective 100% of
the time. Consider acceptable options, alternative and backup plans in case of
ineffective deployment.

Deployment Safety Procedures

Secondary Injury Risks: Taser-induced strong muscle contractions usually render a
suspect temporarily unable to control his or her psychomotor movements. This may
result in secondary injuries such as thase due to falls. This loss of contral, or inability to
catch oneself, can in special circumstances increase the risk{s) of serious injury or
death. Also, person who could fall on a sharp object (such as persan holding a knife or
other edged weapon) or suffer impact injuries to their head or other sensitive areas in a
fail could also be at a higher risk, Other persons at higher risk include: those focated
on elevated or unstable platforms (e.g., trees, roofs, ladders, ledges, cranes, loading
dacks}, operating a vehicle or machinery, or those who are running. Persons located in
water may drown if their ability to move is restricted. For safety reasons, officers are
highly discouraged from discharging a Taser on a suspect who is cantrol of an in-gear
motor vehicle. Similarly, Tasering an obviously pregnant suspect ts also discouraged.

Laser Beam Eye Damage: The Taser device incorporates a laser aiming aid. Laser
beams can cause eye damage. Avoid intentionally aiming at the eyes of a person or
animal.

Select Preferred Target Areas: The preferred target areas are the lower torso (below
the suspect's sternum) in the front, below the neck on the back or legs. Avoid
intentionally alming the Taser device at the head or face without justification.

Avoid Sensitive Areas: Significant injury can occur from Taser device deployment inte
sensitive areas of the body such as the eyes, throat or genitals — avoid intentionally
fargeting these areas without justification.

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Avoid Known Pre-Existing Injury Areas: When practical, avoid deploying a Taser
device at a known location of pre-existing Injury; e.g., avoid targeting the back for
persons with known pre-existing back injuries, avoid targeting the chest area on
persons with a known history of previous heart attacks.

Avoid Discharging around Explosives Materials, Liquids or Vapors: These include
gasoline, other flammables, explosive materials, liquids or vapors; e.g., gases found in
sewer lines, methamphetamine labs, and butane type lighters. Some self defense
sprays use flammable carriers such as alcohol and could be dangerous to use in
immediate conjunction with Taser devices.

Reload and Deploy: If a Taser device application is ineffective in achieving the desired
effect, consider reloading and redeploying or using other force options, giving due
consideration to the Use of Force continuum.

Restrained Suspects: Suspects whose behavior and/or demeanor indicate a potential
risk of violence should be restrained at the earliest opportunity and a defensive posture
maintained until the threat is diminished. However, even when restrained, hosille
suspect's, as well as suspect's who are initfally compliant, become combative and/or
non-compliant for reasons known only to them. in such instances, an officer's safely
and the safety of surrounding persons is of paramount concern. The use of a taser in
such circumstances is a legitimate use of force opiion provided the suspect is still
engaging in behavior that would be considered a Level 3 Use of Force situation: ie.,
actively resistant (behavior that would lead a reasonable officer to consider the suspect
a potential threat to himself, other officers or other citizens),

Control and Restrain Immediately: Begin control and restraint procedures as soon as it
is reasonably safe to do so in order fo minimize the total duration of exertion and stress
experienced by the suspect. Officers can avoid being struck by an electrical discharge
if probes, wires and the areas between the probes are avoided; otherwise, it is safe to
make contact with a suspect who is being Tasered,

Post Deployment Procedures

Probe Removal: Injury or wounds caused by Taser probes will be minor in most areas
of the body, as the probes have small barbs. Officers should remove the Taser probes
only after the suspect has been secured. Probes can be removed by grasping one end
of the probe as close to the skin as possible and pulling it straight out (in the same
direction the probe entered). Tasered suspects will be transported to the hospital for
evaluation and/or treatment if the probes are lodged in a sensitive area (e.g., groin,
breast, throat, facial area), if the suspect requests medical attention, If problems arise
during probe removal in the field or the officer does not believe he/she can safely
remove the probes. Suspect’s requiring médical attention may be fratsported to the
hospital in depdrirnent vehicles. Regardless, officers are reminded to fake all

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appropriate precautions to limit their exposure to blood borne pathogens. Recovered
probes will be placed into the expended cartridge, point down, and the protective cover
replaced. Secure the cartridge with bio hazard tape along with the taser wires and
collect three to four AFIdS, whenever possible. The cartridge, wires and AFIdS will be
processed as evidence and properly secured in accordance with Department SOP 4.2,
Evidence Packaging.

Cartridge Replacement: Officer may obtain replacement cartridges from the on-duty
supervisor or Property Officer. The Property Officer shall ensure sufficient replacement
cartridges are available and the Shift supervisors shall be responsible for maintaining
sufficient replacement cartridges for after-hour and weekend requirements.

Reporting: Taser deployments and discharges are considered reportable Use of Force
incidents (see Department Policy 5.1, Use of Force & Deadly Force, page 10). For Use
of Force Reporting purposes, each discharge delivered to a suspect is considered a
reportable incident. Multiple reports are not required; however, the officers and/or a
supervisor will list the number of times the weapon was discharged on the suspect and
the duration of each discharge.

Video Download: Video coverage of Taser incidents shall be completed at the earliest
opportunity, but not later than the end of an officer's shift, unless exceptional
circumstances prohibit such downloads. Supervisory personnel shall be responsible for
downloading such videos and reviewing their content for Use of Force compliance.
Video content is saved to select hard drives and stored for future use. Video footage
shail not be deleted without prior approval from the Director of Police.

Officers confronted with Taser malfunctions shall notify an on-duty supervisor at the
earliest opportunity. The Taser shall then be inspected by a certified Taser instructor
and a determination made on its functionality before being returned to service,

Deployment Health Risks

Sudden in-Custody Death Syndrome Awareness: Hf a subject is exhibiting signs or
behaviors that are associated with Sudden In-Custody Death Syndrome, consider
combining use of a Taser device with immediate physical restraint techniques and
medical assislance. Examples of Sudden In-Custody Death Syndrome include extreme
agitation, bizarre behavior, inappropriate nudity, imperviousness to pain, paranoia,
exhaustive exertion, “superhuman” strength, hallucinations and sweating profusely.

Continuous Exposure Risks: When practical, avoid prolonged or continuous
exposure(s) to the Taser device's electrical discharge. In some circumstances, in
susceptible people, itis conceivable that the stress and exertion of extensive, repeated,
prolonged or continuous application(s) may contribute to cumulative exhaustion, stress
and associated medical rsk(s).

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Other Conditions: Unrelated to Taser exposure, conditions such as excited defiriurn,
severe exhaustion, drug intoxication or chronic drug abuse and/or over-exertion from
physical struggle may result in serious injury or death.

Breathing Impairment: Extended or repeated Taser device exposure should be avoided
where practical, Although existing studies on conscious human volunteers indicate
subjects continue to breathe during extended Taser application, it is conceivable that
the muscle contractions may impair a suspect's ability to breathe. Itis advisable to use
expedient physical restraint in conjunction with the Taser device to minimize the overall
duration of stress, exertion and potential breathing impairment, particularly on
individuals exhibiting symptoms of excited delirium and/or exhaustion.

Vagal Response: Some individuals may experience an exaggerated response fo the
Taser device exposure, or threatened exposure, which may result in a person fainting.

Seizure Risks: Repetitive stimuli such as’ flashing lights or electrical stimuli can induce
seizures in some individuals. This risk is heightened if electrical stimuli or current

passes through the head region.

Pregnancy: Pregnant females are at an elevated risk from falling, rouscie contractions,
stress and other factors. For these and other health considerations, it is advisable to
avoid using the Taser device on obviously pregnant females whenever possible.

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